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                      UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF MASSACHUSETTS


 SARAH DEPOIAN,

         Plaintiff,

 v.                                                         Civil Action No. 1:23-cv-13063

 MERLE BERGER,

         Defendant.


 DEFENDANT MERLE BERGER’S MOTION TO DISMISS ALL CLAIMS OR IN THE
    ALTERNATIVE CERTIFY THE OPERATIVE QUESTION OF LAW TO THE
             MASSACHUSETTS SUPREME JUDICIAL COURT

       Defendant Merle Berger (“Dr. Berger”) respectfully moves to dismiss plaintiff Sarah

Depoian’s (“Ms. Depoian”) Complaint in its entirety pursuant to Federal Rule of Civil Procedure

12(b)(6).

       Ms. Depoian’s action concerns medical treatment that Dr. Berger allegedly provided to

her more than forty years ago. She asserts three claims – fraudulent concealment (Count I),

intentional misrepresentation/fraud (Count II), and violation of G.L. c. 93A (Count III). Each

claim is barred as a matter of law for several, independent reasons.

       All three claims are barred by the Massachusetts seven-year statute of repose, G.L. c.

260, § 4 (the “Statute of Repose”). To attempt to get around the Statute of Repose, Ms. Depoian

has purposefully omitted a medical malpractice claim and instead relies only on a fraudulent

concealment theory. But “in determining whether the Statute of Repose applies to a claim, the

Court is directed to ‘read the complaint by its gist, rather than its label.’” Lennar Ne. Properties,

Inc. v. Barton Partners Architects Planners Inc., No. 16-CV-12330-ADB, 2021 WL 231295, at

*4 (D. Mass. Jan. 22, 2021) (quoting Kingston Hous. Auth. v. Sandonato & Bogue, Inc., 31

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Mass. App. Ct. 270, 274 (1991)). And it is well settled that statutes of repose “eliminate[] a

plaintiff’s cause of action even in cases of fraudulent concealment.” Bridgwood v. A.J. Wood

Constr., Inc., 480 Mass. 349, 354 (2018). In fact, in Joslyn v. Chang, 445 Mass. 344, 350 (2005),

the Supreme Judicial Court held that the Statute of Repose cannot be extended even in cases

where a doctor fraudulently conceals a patient’s malpractice claim.

          Further, Counts I and II, which both allege fraudulent concealment and are mirror images

of each other, must be dismissed because “Massachusetts does not recognize an independent

claim for fraudulent concealment.” Niedner v. Ortho-McNeil Pharm., Inc., 90 Mass. App. Ct.

306, 313 n.7 (2016).

          Count III also fails for the additional reason that Ms. Depoian does not allege that Dr.

Berger acted in an entrepreneurial or business capacity, and therefore his alleged conduct is

outside the purview of c. 93A. See Darviris v. Petros, 442 Mass. 274, 279-284 (2004).

          In the alternative, to the extent the Court determines there is an open question of law

regarding whether the Statute of Repose bars Ms. Depoian’s claims, Dr. Berger requests that the

Court certify the question for the Supreme Judicial Court to decide. But to be clear, the Statute of

Repose bars Ms. Depoian’s action.

                               REQUEST FOR ORAL ARGUMENT

          Dr. Berger respectfully requests oral argument on this motion pursuant to Local Rule

7.1(d).

                        CERTIFICATION PURSUANT TO L.R. 7.1(a)(2)

       I, Ian J. Pinta, hereby certify that, on February 9, 2024, I conferred in good faith with Ms.
Depoian’s counsel, Adam Wolf, by telephone to resolve and/or narrow the issues raised in this
motion.

                                                        /s/ Ian J. Pinta
                                                        Ian J. Pinta

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                                             Respectfully submitted,

                                             MERLE BERGER,

                                             By his attorneys,

                                             /s/ Ian J. Pinta
                                             Ian J. Pinta (BBO # 667812)
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Dated: February 12, 2024

                                CERTIFICATE OF SERVICE

        I hereby certify that this document has been filed through the ECF system and will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on February
12, 2024.

                                               /s/ Ian J. Pinta
                                              Ian J. Pinta




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